  Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 1 of 17 Page ID #:1




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 8 BUSINESS SERVICES INC.; JOHNSON & JOHNSON;
   JOHNSON & JOHNSON SERVICES, INC.
 9
                       UNITED STATES DISTRICT COURT
10
                     CENTRAL DISTRICT OF CALIFORNIA
11
12
13 SHERRY KINNE,                              Case No.
14                  Plaintiff,                NOTICE OF REMOVAL OF
                                              ACTION UNDER 28 U.S.C.
15        vs.                                 SECTION 1441(b) (DIVERSITY)
16 DEPUY ORTHOPAEDICS, INC.,
   an Indiana corporation; JOHNSON
17 & JOHNSON, a New Jersey
   corporation; JOHNSON &
18 JOHNSON SERVICES, INC., a
   New Jersey corporation; THOMAS
19 SCHMALZRIED, M.D., an                      JURY TRIAL DEMANDED
   individual THOMAS P.
20 SCHMALZRIED, M.D. A
   PROFESSIONAL CORPORATION,
21 a California corporation; and DOES         Complaint Filed: July 19, 2018
   1 through 50, inclusive,
22
                   Defendants.
23
24                               NOTICE OF REMOVAL
25        Defendants DePuy Orthopaedics, Inc. (“DePuy”), Johnson & Johnson, and
26 Johnson & Johnson Services, Inc. (collectively, “removing defendants”), through
27 undersigned counsel, hereby remove the state-court action entitled Sherry Kinne v.
28 DePuy Orthopaedics, Inc. et al., Civil Action No. BC714172, filed in the Superior

            NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
  Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 2 of 17 Page ID #:2




 1 Court of California, County of Los Angeles. Removal is warranted under 28 U.S.C.
 2 § 1441(b) because this is a diversity action over which the Court has original
 3 jurisdiction under 28 U.S.C. § 1332.
 4 In support of removal, removing defendants state as follows:
 5          1.       On or about July 19, 2018, plaintiff commenced this action against the
 6 removing defendants, Thomas P. Schmalzried, M.D., Thomas P. Schmalzried, a
 7 Professional Corporation (collectively, “Dr. Schmalzried”) and un-named Doe
 8 defendants, by filing a complaint in the Superior Court of Los Angeles County, in
 9 the State of California, bearing case number BC714172.
10          2.       In this action, plaintiff alleges that she suffered various injuries as a
11 result of being implanted with a Pinnacle Acetabular Cup System (“Pinnacle Cup
12 System”) manufactured and sold by DePuy. (E.g., Compl. ¶ 3.)
13          3.       This is one of more than 10,000 similar cases pending around the
14 country involving personal-injury allegations by plaintiffs who were implanted with
15 a Pinnacle Cup System manufactured by DePuy Orthopaedics, Inc. On May 23,
16 2011, the Judicial Panel on Multidistrict Litigation issued an order establishing
17 MDL No. 2244, In re: DePuy Orthopaedics Inc., Pinnacle Hip Implant Products
18 Liability Litigation, before Judge James E. Kinkeade in the United States District
19 Court for the Northern District of Texas. Removing defendants intend to seek the
20 transfer of this action to that proceeding, and will shortly provide the MDL Panel
21 notice of this action pursuant to the “tag-along” procedure contained in the MDL
22 Rules.
23          4.       As set forth more fully below, this case is properly removed pursuant to
24 28 U.S.C. § 1441, because the Court has subject-matter jurisdiction over it, pursuant
25 to 28 U.S.C. § 1332, and removing defendants have satisfied the procedural
26 requirements for removal.
27 / / /
28 / / /

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                 NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
  Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 3 of 17 Page ID #:3




 1 I.      REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT-
           MATTER JURISDICTION PURSUANT TO 28 U.S.C. §§ 1332 AND
 2
           1441.
 3
           5.       The Court has subject-matter jurisdiction over this case pursuant to 28
 4
     U.S.C. §§ 1332 and 1441 because this is a civil action in which the amount in
 5
     controversy exceeds the sum of $75,000, exclusive of costs and interest, and is
 6
     between citizens of different States.
 7
           A.       Complete Diversity Of Citizenship
 8
 9         6.       Plaintiff is a citizen of the State of California. (Compl. ¶ 6.)
10         7.       DePuy is, and was at the time plaintiff commenced this action, a
11 corporation organized under the laws of the State of Indiana with its principal place
12 of business in Warsaw, Indiana, and is therefore a citizen of the State of Indiana for
13 purposes of determining diversity. 28 U.S.C. § 1332(c)(1).
14       8.     Johnson & Johnson and Johnson & Johnson Services, Inc. are, and
15 were at the time plaintiff commenced this action, corporations organized under the
16 laws of the State of New Jersey with their principal places of business in New
17 Brunswick, New Jersey, and are therefore citizens of the State of New Jersey for
18 purposes of determining diversity. 28 U.S.C. § 1332(c)(1).
19         9.       Dr. Schmalzried and his professional corporation are residents of the
20 State of California. (Compl. ¶¶ 12, 13.)
21        10. Plaintiff also names numerous “Doe” defendants whose citizenship is
22 disregarded for purposes of removal. 28 U.S.C. § 1441(a).
23       11. Thus, plaintiff is diverse from all defendants except Dr. Schmalzried.
24         12.      The presence of Dr. Schmalzried and his professional corporation in
25 this case does not defeat diversity jurisdiction, however, because they are
26 fraudulently joined. Under the fraudulent-joinder doctrine, a court should disregard
27 the citizenship of a defendant where there is “no possibility that the plaintiff will be
28 able to establish a cause of action in state court against the alleged sham defendant.”

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                NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
  Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 4 of 17 Page ID #:4




 1 Taylor v. Jeppesen DataPlan, Inc., No. C 10-1920 SBA, 2010 U.S. Dist. LEXIS
 2 106160, at *5 (N.D. Cal. Sept. 27, 2010) (internal quotation marks and citation
 3 omitted); see also McCabe v. Gen. Foods Corp., 811 F.2d 1336, 1339 (9th Cir.
 4 1987).
 5        13.    That is precisely the case here. Although plaintiff alleges claims
 6 against Dr. Schmalzried for strict liability, negligence, negligent and intentional
 7 misrepresentation, breach of warranty and fraudulent concealment, there is no
 8 possibility that any of these claims would succeed under California law.
 9               (1)    Plaintiff’s Claims Against Dr. Schmalzried Are Doomed
                        To Fail Under Pliva, Inc. v. Mensing.
10
11        14.    There is no possibility that plaintiff can prevail on any of her claims
12 against Dr. Schmalzried because such claims are preempted when brought against
13 non-manufacturers of an FDA-approved product. See PLIVA, Inc. v. Mensing, 564
14 U.S. 604, 624-25 (2011); Mutual Pharm. Co. v. Bartlett, 570 U.S. 472 (2013); see
15 also Decl. of Dr. Thomas P. Schmalzried (“Schmalzried Decl.”) ¶ 2, Plum v. DePuy
16 Orthopaedics, Inc. (C.D. Cal.) (attached as Ex. 1) (attesting that Dr. Schmalzried
17 “played no role in the manufacturing, packaging, labeling, regulatory submissions,
18 sales, inspection, distribution, and adverse event and complaint reporting, handling
19 or tracking for the Pinnacle Cup System”).
20        15. In Mensing, the U.S. Supreme Court ruled that all claims against generic
21 drug manufacturers that were premised on a failure to warn are preempted by
22 federal law based on the principle of impossibility preemption. 564 U.S. at 624-25.
23 According to the Supreme Court, generic manufacturers cannot be found liable on a
24 failure-to-warn theory because generic manufacturers have no power to unilaterally
25 effectuate a label change; rather, they must use the same labels and warnings as
26 those approved by the FDA with respect to the brand-name version of the drug. Id.
27 at 613-15. Thus, as long as the labels and warnings for the generic form of the drug
28 match the labels and warnings that the FDA has approved for the brand-name form

                                               4
             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
  Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 5 of 17 Page ID #:5




 1 of the drug, generic manufacturers cannot as a matter of law be held liable under
 2 state tort law for failing to warn.
 3         16.   Although Mensing involved failure-to-warn claims, the Supreme Court
 4 has reached a similar conclusion as to product-design claims as well. In Bartlett, the
 5 Supreme Court held that a generic manufacturer could not “legally make [the
 6 relevant product] in another composition” under the Federal Food, Drug, and
 7 Cosmetic Act (“FDCA”). Bartlett, 570 U.S. at 483-84 (citation omitted). As the
 8 Court explained, “the FDCA requires a generic drug to have the same active
 9 ingredients, route of administration, dosage form, strength, and labeling as the
10 brand-name drug on which it is based.” Id. (citing 21 U.S.C. §§ 355(j)(2)(A)(ii)-(v)
11 and (8)(B); 21 C.F.R. § 320.1(c)). Because it was “not possible” for the generic
12 manufacturer defendant in Bartlett to “redesign” the product at issue to make it
13 more useful or less risky, the Court concluded that causes of action based on a
14 defective design are likewise preempted. See id.; see also Demahy v. Schwarz
15 Pharma, Inc., 702 F.3d 177, 187 (5th Cir. 2012) (“[W]e are persuaded that
16 [plaintiff’s] design defect claim [against generic manufacturer] would be preempted
17 [under Mensing].”); Gardley-Starks v. Pfizer, Inc., 917 F. Supp. 2d 597, 611 (N.D.
18 Miss. 2013) (design-defect claims “are also preempted”); In re Pamidronate Prods.
19 Liab. Litig., 842 F. Supp. 2d 479, 484 (E.D.N.Y. 2012) (“[T]he ‘federal duty of
20 “sameness,”’ also applies in the context of generic drug design.”) (citation omitted).
21         17.   As other courts have found, these principles apply in spades to non-
22 manufacturing defendants such as Dr. Schmalzried. After all, these defendants have
23 “no authority” to effectuate changes to the product or its labeling either. See, e.g., In
24 re Fosamax Prods. Liab. Litig., MDL No. 2243 (JAP-LHG), No. 3:08-cv-00008-
25 JAP-LHG, 2012 U.S. Dist. LEXIS 5817, at *26-28 (D.N.J. Jan. 17, 2012) (because a
26 distributor “ha[d] no authority to initiate a labeling change” and “no power to
27 unilaterally change Fosamax labeling,” it “could not ‘independently do under
28 federal law what state law requires of it’”) (citation omitted); see also Stevens v.

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             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
  Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 6 of 17 Page ID #:6




 1 Cmty. Health Care, Inc., No. ESCV200702080, 2011 WL 6379298, at *1 (Mass.
 2 Super. Ct. Oct. 5, 2011) (“As a distributor, however, [the defendant] had no ability
 3 to change labeling or warnings and thus, like a generic manufacturer, [it] cannot be
 4 subject to liability in connection with a state law claim premised on a ‘failure to
 5 warn.’”).
 6         18.   In In re Fosamax, for example, the court granted a distributor’s motion
 7 for judgment on the pleadings after finding that the plaintiffs’ state-law claims were
 8 preempted. 2012 U.S. Dist. LEXIS 5817, at *26-28. The plaintiffs in In re
 9 Fosamax asserted a number of claims against “the authorized distributor of branded
10 Fosamax” that “emanated from a general theory of failure to warn,” including
11 “defective design, negligence, fraud, misrepresentation, breach of express and
12 implied warranties, violation of consumer protection statutes, restitution, and loss of
13 consortium.” Id. at *20-21 (citation omitted). In rejecting the plaintiffs’ claims, the
14 district court ruled that “[a]s a distributor of Fosamax, [the distributor] ha[d] no
15 power to change Fosamax labeling.” Id. at *27. According to the court, “[t]hat
16 power lies with the applicant who . . . seek[s] approval to market Fosamax” – in that
17 case, Merck. Id. at *27. Additionally, the court noted that if the FDA had become
18 aware of new safety information in connection with Fosamax use that it believed
19 should be included in the labeling, the FDA would have notified Merck – not the
20 distributor. Id. Because the distributor “ha[d] no authority to initiate a labeling
21 change” and “no power to unilaterally change Fosamax labeling,” it “could not
22 ‘independently do under federal law what state law requires of it.’” Id. at *27-28
23 (quoting Mensing, 564 U.S. at 620-21). Accordingly, the court found that “the state
24 law claims brought against [the distributor] [were] preempted.” Id.
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             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
  Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 7 of 17 Page ID #:7




 1         19.   Here, all of plaintiff’s claims against Dr. Schmalzried rest on either a
 2 failure-to-warn theory or a defective-design theory.1 Because Dr. Schmalzried had
 3 no “power to unilaterally change” either the design of the FDA-regulated Pinnacle
 4 Cup System – or the warnings that accompanied it – all of plaintiff’s claims against
 5 him are preempted. See Morris v. Wyeth, Inc., No. 3:09-CV-854, 2011 WL
 6 4973839, at *1 (W.D. La. Oct. 19, 2011) (dismissing plaintiff’s claims for defective
 7 construction or composition, defective design, breach of express warranty, and
 8 inadequate warning under Mensing), aff’d, 713 F.3d 774 (5th Cir. 2013); Lashley v.
 9 Pfizer, Inc., 877 F. Supp. 2d 466, 480-81 (S.D. Miss. 2012) (rejecting plaintiffs’
10 contention that it was erroneous to find their claims for “failure to warn, negligence,
11 strict liability, breach of warranty as to merchantability, breach of warranty as to
12 fitness for a particular purpose, misrepresentation, and fraud” preempted under
13 Mensing), aff’d, 750 F.3d 470 (5th Cir. 2014)
14         20.   For all of these reasons, there is no possibility plaintiff would prevail
15 on any of her claims against Dr. Schmalzried, and Dr. Schmalzried is therefore
16 fraudulently joined.
17               (2)    There Is No Possibility That Liability Would Be Imposed
                        On Dr. Schmalzried.
18
19         21.   Even if plaintiff’s claims against Dr. Schmalzried were not preempted
20 by federal law, there is “no possibility that the plaintiff [would] be able to establish
21 [her] cause[s] of action in state court against” Dr. Schmalzried for additional reasons
22 as well. Taylor, 2010 U.S. Dist. LEXIS 106160, at *5.
23         22.   Strict Liability. No California court would impose strict liability on
24 Dr. Schmalzried separate and apart from Mensing. Although California allows
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          Plaintiff also alleges defective manufacture, but plaintiff cannot prevail on
27 such a theory against Dr. Schmalzried because not even plaintiff asserts that Dr.
   Schmalzried had any role in the manufacture of the Pinnacle Cup System.
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             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
  Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 8 of 17 Page ID #:8




 1 application of strict-liability theories to participants outside the chain of distribution,
 2 the circumstances under which such liability is permitted are extremely narrow. In
 3 Bay Summit Community Association v. Shell Oil Co., the court articulated a three-
 4 part test for strict-liability claims against a non-manufacturing, non-distributing
 5 defendant:
 6                (1) the defendant received a direct financial benefit from
                  its activities and from the sale of the product; (2) the
 7                defendant’s role was integral to the business enterprise
                  such that the defendant’s conduct was a necessary factor in
 8                bringing the product to the initial consumer market; and
                  (3) the defendant had control over, or a substantial ability
 9                to influence, the manufacturing or distribution process.
10 51 Cal. App. 4th 762, 776 (1996). The court went on to explain that the fact that “an
11 entity was a link in the chain of getting goods to the market or that it participat[ed]
12 in marketing a defective product is not enough to establish the defendant should be
13 held strictly liable.” Id. at 778 (internal quotation marks and citation omitted); see
14 also Taylor v. Elliott Turbomachinery Co. Inc., 171 Cal. App. 4th 564, 576 (2009)
15 (a claim for strict-liability failure to warn arises only where a plaintiff can prove,
16 inter alia, that “the defendant had control over, or a substantial ability to influence,
17 the manufacturing or distribution process”). After all, and as other California courts
18 have held, “[t]here is, implicit in the strict liability standard, a requirement that the
19 defendant have some ability to control the manufacturing or distribution of the
20 product.” Bruce v. Clark Equip. Co., No. Civ. S-05-01766 WBS KJM, 2007 U.S.
21 Dist. LEXIS 25331, at *11 (E.D. Cal. Mar. 26, 2007); Hanberry v. Hearst Corp.,
22 276 Cal. App. 2d 680, 687-88 (Cal. Ct. App. 1969) (holding that strict liability
23 “should not be extended . . . to a general endorser” that was not “involved in
24 manufacturing products for, or supplying products to, the consuming public”).
25         23.    Here, as set forth above, Dr. Schmalzried “played no role in the
26 manufacturing, packaging, labeling, regulatory submissions, sales, inspection,
27 distribution, and adverse event and complaint reporting, handling or tracking for the
28 Pinnacle Cup System.” Schmalzried Decl. ¶ 2. Accordingly, there is no reasonable

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             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
  Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 9 of 17 Page ID #:9




 1 possibility that plaintiff can prevail on her strict-liability claims against Dr.
 2 Schmalzried.2
 3         24.    Negligence-Based Claims. Plaintiff’s claims for negligence and
 4 negligent failure to recall or retrofit against Dr. Schmalzried are utterly without
 5 merit because plaintiff cannot establish that Dr. Schmalzried owed any independent
 6 duty to her. As set forth in the attached declaration, Dr. Schmalzried was merely
 7 “one of eight surgeons selected by DePuy who provided assistance to DePuy with
 8 the design of the Pinnacle Cup System.” Schmalzried Decl. ¶ 3. No duty arises
 9 from “being the developer, inventor, or patent holder of a product or design.”
10 Murphy v. Aventis Pasteur, Inc., 270 F. Supp. 2d 1368, 1376-77 (N.D. Ga. 2003);
11 see also Weseloh Family Ltd. P’ship v. K.L. Wessel Construction Co., 125 Cal. App.
12 4th 152, 164 (2004) (design engineers could not be held liable for general
13 negligence because they owed no duty of care to plaintiff property owners; courts
14 have “invoked the concept of duty to limit [] the otherwise potentially infinite
15 liability which would follow from every negligent act”); In re Rezulin Litig., No. CV
16 03-1643-R(RZX), 2003 WL 25598915, at *1 (C.D. Cal. Apr. 28, 2003) (holding that
17 a patent holder and clinical investigator of an allegedly defective prescription drug
18 was fraudulently joined because he “owed no legal duty to any of the plaintiffs, and
19 therefore, there [was] no possibility that the plaintiffs [could] prove a cause of action
20 against [him]”).
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           In addition, plaintiff’s design-defect strict-liability claim against Dr.
24   Schmalzried is also barred because, under California law, “the entire category of
     medical implants available only by resort to the services of a physician are immune
25   from design defect strict liability.” Artiglio v. Superior Court, 22 Cal. App. 4th
26   1388, 1397 (1994) (same); see also Hufft v. Horowitz, 4 Cal. App. 4th 8, 19 (1992).
     There is no contention anywhere in plaintiff’s complaint that her Pinnacle Cup
27   System was obtained other than by the services of a physician.
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             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
 Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 10 of 17 Page ID #:10




 1         25.   These rulings make good sense. Otherwise, every individual who had
 2 any role in the design of any component of any product, such as a vehicle, would
 3 potentially be liable for negligence any time an individual was injured using it.
 4 Such an approach would result in limitless liability for millions of Americans who
 5 work in any capacity in which they provide input into the design or manufacturing
 6 of any products. Accordingly, our legal system limits liability to the actual
 7 manufacturer of a product, which has a duty of care to those who buy its products.
 8 Morrow v. Wyeth, No. B-05-209, 2005 U.S. Dist. LEXIS 43194, at *13-14 (S.D.
 9 Tex. Oct. 13, 2005) (noting that the law places liability on the manufacturer of an
10 allegedly defective product, not on the specific individuals involved in the design
11 and manufacture of the product). For this reason too, Dr. Schmalzried is
12 fraudulently joined.
13         26.   Breach-of-Warranty Claims. Plaintiff’s breach-of-warranty claims
14 against Dr. Schmalzried are barred as a matter of law because plaintiff does not
15 allege that Dr. Schmalzried is a “seller” for purposes of warranty law. See Cal. U.
16 Comm. Code § 2313 (“Any affirmation of fact or promise made by the seller to the
17 buyer which relates to the goods and becomes part of the basis of the bargain creates
18 an express warranty that the goods shall conform to the affirmation or promise.”)
19 (emphasis added); Cal. U. Comm. Code § 2314 (a “warranty that the goods shall be
20 merchantable is implied in a contract for their sale if the seller is a merchant with
21 respect to goods of that kind”). As court after court has held, warranty claims are
22 only properly brought against the party that sold the product – not against the
23 individuals who represent or work for the manufacturer. See, e.g., In re Rezulin
24 Prods. Liab. Litig., 133 F. Supp. 2d 272, 286 (S.D.N.Y. 2001) (sales representatives
25 were fraudulently joined because, inter alia, no warranty claim could possibly be
26 asserted against them insofar as they “were not ‘sellers’ of the product for purposes
27 of warranty; the ‘seller’ who impliedly warranted the merchantability of Rezulin
28 was the pharmaceutical manufacturer”); In re Diet Drugs (Phentermine,

                                               10
             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
 Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 11 of 17 Page ID #:11




 1 Fenfluramine, Dexfenfluramine) Prods. Liab. Litig., 220 F. Supp. 2d 414, 425 (E.D.
 2 Pa. 2002) (removal proper where plaintiffs failed to cite “any authority for the
 3 proposition that a sales representative, as opposed to the manufacturer of the product
 4 he or she was selling, would ever be liable as the warrantor of the product”; “[o]n
 5 the contrary, sales representatives are not considered ‘sellers’ under Mississippi law,
 6 but rather, employees of the businesses who are sellers”) (internal quotation marks
 7 and citation omitted).
 8         27.   Here, plaintiff makes no allegation that Dr. Schmalzried sold her the
 9 Pinnacle Cup System. Because plaintiff has not – and cannot – allege that Dr.
10 Schmalzried was the seller – and thus the warrantor – of the product, her warranty-
11 based claims fail as a matter of law.3
12         28.   Fraud-Based Claims. Plaintiff’s claims against Dr. Schmalzried for
13 negligent misrepresentation, intentional misrepresentation and fraudulent
14 concealment (collectively, plaintiff’s ‘“fraud-based claims”) cannot succeed
15 because: (1) plaintiff does not identify a single statement made by Dr. Schmalzried
16 that was allegedly deceptive; and (2) plaintiff fails to establish any connection
17 between any actions by Dr. Schmalzried and her implantation with the Pinnacle Cup
18 System that could possibly satisfy the reliance/causation elements of her fraud-based
19 claims.
20         29.   Under California law, causes of action for intentional misrepresentation
21 and negligent misrepresentation require a plaintiff to prove, inter alia, that the
22 defendant engaged in a misrepresentation and that the plaintiff relied on it. See, e.g.,
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     3
          Even if Dr. Schmalzried could be characterized as a “seller” – and he cannot –
25 plaintiff’s implied-warranty claims against Dr. Schmalzried would still be barred
26 because plaintiff cannot possibly prove that she “relied on [Dr. Schmalzried’s] skill
   or judgment to select or furnish a suitable product,” as required under California
27 law. See Evraets v. Intermedics Intraocular, Inc., 29 Cal. App. 4th 779, 789 (1994).
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             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
 Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 12 of 17 Page ID #:12




 1 Young v. Fluorotronics, Inc., No. 10cv976-WQH-BGS, 2010 U.S. Dist. LEXIS
 2 117362, at *22-23 (S.D. Cal. Nov. 3, 2010) (“[t]he . . . elements of a cause of action
 3 for [intentional misrepresentation] are: (1) a misrepresentation, which includes a
 4 concealment or nondisclosure; (2) knowledge of the falsity of the misrepresentation,
 5 i.e., scienter; (3) intent to induce reliance on the misrepresentation; (4) justifiable
 6 reliance; and (5) resulting damages”); Nat’l Union Fire Ins. Co. of Pittsburgh, PA v.
 7 Cambridge Integrated Serv. Grp., Inc., 89 Cal. Rptr. 3d 473, 483 (Cal. Ct. App.
 8 2009) (“The elements of negligent misrepresentation are (1) the misrepresentation of
 9 a past or existing material fact, (2) without reasonable ground for believing it to be
10 true, (3) with intent to induce another’s reliance on the fact misrepresented, (4)
11 justifiable reliance on the misrepresentation, and (5) resulting damage”) (internal
12 quotation marks and citation omitted).
13         30.   Importantly, plaintiff must allege these elements of her fraud-based
14 claims with the particularity required by Federal Rule of Civil Procedure 9(b). See,
15 e.g., Neilson v. Union Bank of Cal., N.A., 290 F. Supp. 2d 1101, 1141 (C.D. Cal.
16 2003) (“It is well-established in the Ninth Circuit that both claims for fraud and
17 negligent misrepresentation must meet Rule 9(b)’s particularity requirements.”)
18 (citation omitted); Baltazar v. Apple, Inc., No. CV-10-3231-JF, 2011 WL 588209, at
19 *3 (N.D. Cal. Feb. 10, 2011) (holding that plaintiff must satisfy the pleading
20 requirements of Rule 9(b) in order to state a claim for negligent misrepresentation);
21 In re Toyota Motor Corp., Unintended Acceleration Mktg., Sales Prac., and Prod.
22 Litig., No. 8:10ML 02151 JVS (FMOx), 2011 WL 6004569, at *19 (C.D. Cal. Nov.
23 30, 2011) (granting motion to dismiss CLRA claims where plaintiffs failed to meet
24 the heightened pleading requirements of Rule 9(b)). Bald allegations of fraud
25 cannot defeat diversity jurisdiction. See, e.g., In re Rezulin, 133 F. Supp. 2d at 283
26 (defendant fraudulently joined because, inter alia, plaintiffs did not meet Rule 9(b)’s
27 requirements where they failed to allege “the time and place of particular
28 representations”).

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             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
 Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 13 of 17 Page ID #:13




 1         31.    Here, plaintiff has not identified any statements that Dr. Schmalzried
 2 allegedly made to her (or her physician) regarding the safety or efficacy of the
 3 Pinnacle Cup System. Nor has she alleged that she (or her doctor) relied on any
 4 such statements in selecting the Pinnacle Cup System – let alone with the
 5 particularity required by Rule 9(b). Instead, plaintiff merely offers vague,
 6 unsupported allegations that all defendants – at some unspecified time and place –
 7 misrepresented the “safety” and “efficacy” of the Pinnacle Cup System. For both of
 8 these reasons, there is no “possibility” that plaintiff can recover against the
 9 physician on her fraud-based claims. See, e.g., Aronis v. Merck & Co., No. CIV. S-
10 05-0486 WBS DAD, 2005 WL 5518485, at *1 (E.D. Cal. May 3, 2005) (finding
11 fraudulent joinder of a distributor where “plaintiff d[id] not allege that [the
12 distributor] contributed in any way to her injuries”; “[t]o state a claim against a
13 defendant, a plaintiff must allege a causal connection between the injury and the
14 conduct of that defendant”).
15         32.    Plaintiff’s fraudulent-concealment claim fails for the additional reason
16 that Dr. Schmalzried did not owe plaintiff a duty to disclose. See, e.g., Milne
17 Employees Ass’n v. Sun Carriers, Inc., 960 F.2d 1401, 1408 (9th Cir. 1992) (claim
18 for “suppression of facts . . . generally requires a duty to disclose the concealed
19 fact”) (applying California law). A duty to disclose generally arises where there is a
20 confidential or fiduciary relationship between the parties. See, e.g., Fulford v.
21 Logitech, Inc., No. C-08-2041 MMC, 2009 WL 837639, at *1 (N.D. Cal. Mar. 26,
22 2009) (rejecting fraudulent concealment claim because no relationship – fiduciary or
23 transactional – was alleged; “no duty to disclose can arise in the absence of either a
24 fiduciary duty or a transaction between the parties”). Here, plaintiff does not allege
25 that she had a fiduciary relationship with Dr. Schmalzried. Indeed, she does not
26 allege any relationship or contact at all. As such, there is no possibility that plaintiff
27 can succeed on her fraudulent-concealment claims against him.
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             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
 Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 14 of 17 Page ID #:14




 1         33.    For all of these reasons, there is no possibility plaintiff would prevail
 2 on any of her claims against Dr. Schmalzried, and Dr. Schmalzried is therefore
 3 fraudulently joined.
 4                (3)    Plaintiff Does Not Segregate Her Legal Allegations
                         Against Dr. Schmalzried – Or Support Them With Any
 5
                         Specific Facts – Further Demonstrating That He Was
 6                       Fraudulently Joined.
 7
           34.    The fact that plaintiff’s legal allegations are targeted at “defendants”
 8
     generally – rather than Dr. Schmalzried in particular – further demonstrates that he
 9
     was fraudulently joined. For example, in her causes of action for strict liability and
10
     negligence, plaintiff makes only broad, collective and conclusory claims against a
11
     group generically described as “defendants,” lumping Dr. Schmalzried together with
12
     the removing defendants. (See, e.g., Compl. ¶ 45 (“Defendants designed,
13
     manufactured, distributed, sold, marketed and promoted the Pinnacle Hip
14
     system . . . .”); id. ¶ 57 (“The warnings and instructions provided with the Pinnacle
15
     Hip System by Defendants did not adequately warn of the potential risks and side
16
     effects of the Pinnacle Hip System”); id. ¶ 73 (“Defendants’ negligent design,
17
     testing, manufacturing, marketing, selling, and promoting the Pinnacle Hip System
18
     was a substantial factor in causing Plaintiff’s injuries as set forth above.”).)
19
     Likewise, with regard to her warranty-based claims, plaintiff makes only broad and
20
     generic allegations about unspecified representations allegedly made by all
21
     “defendants.” (See, e.g., id. ¶ 81 (“Defendants made express representations to
22
     healthcare providers and patients, including Plaintiff and Plaintiff’s healthcare
23
     providers, about the safety and efficacy of the Pinnacle Hip System.”); id. ¶ 87 (“In
24
     breach of the implied warranty given by Defendants, the Pinnacle Hip System was
25
     not of merchantable quality or safe or fit for its intended or reasonably foreseeable
26
     use”).) Similarly, plaintiff’s fraud-based claims only contain generic allegations
27
     directed at “defendants.” (See, e.g., id. ¶ 90 (“The Defendants falsely and
28

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              NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
 Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 15 of 17 Page ID #:15




 1 fraudulently represented to the medical and healthcare community, and to Plaintiff,
 2 Plaintiff’s healthcare providers, and/or the FDA, that the Pinnacle Hip System had
 3 been properly tested and was safe and effective for its indicated use.”).)
 4        35.    As numerous courts have found, the fact that all of plaintiff’s legal
 5 allegations are targeted at “defendants” generally – rather than Dr. Schmalzried in
 6 particular – further demonstrates that he was fraudulently joined. Shah v. Wyeth
 7 Pharms., Inc., No. CV 04-8652 DT (MANx), 2005 WL 6731641, at *3 (C.D. Cal.
 8 Jan. 18, 2005) (“allegations against ‘defendants’ collectively are insufficient to
 9 warrant remand, especially when Plaintiffs fail to allege any ‘particular or specific
10 activity’” on the part of each of the non-diverse defendants) (citing Badon v. RJR
11 Nabisco, Inc., 224 F.3d 382, 391-92 (5th Cir. 2000)); see also Gomes v. Michaels
12 Stores, Inc., No. S-06-1921 LKK/KJM, 2006 U.S. Dist. LEXIS 81354, at *5-7 (E.D.
13 Cal. Oct. 27, 2006) (dismissing non-diverse defendant and refusing to remand case
14 where plaintiff generally “state[d] that all defendants’ acts ‘were performed partly
15 within and partly outside the course and scope of their authority and employment’”
16 but did not include any specific allegations about the non-diverse defendant) (citing
17 complaint); In re Phenylpropanolamine (PPA) Prods. Liab. Litig., MDL No. 1407,
18 No. C02-423R, 2002 WL 34418423, at *2, *3 (W.D. Wash. Nov. 27, 2002); Bennett
19 v. Allstate Ins. Co., 753 F. Supp. 299, 301 (N.D. Cal. 1990) (denying motion to
20 remand because, inter alia, plaintiff’s complaint made “no attempt” to “differentiate
21 between the conduct” of the defendants).
22        36.    For this reason too, Dr. Schmalzried is fraudulently joined, and his
23 citizenship must be disregarded for jurisdictional purposes.
24        B.     Amount In Controversy
25        37.    Plaintiff claims that she has suffered “persistent pain and decreased
26 mobility,” which she claims have “both worsen[ed] over time.” (Compl. ¶ 3.)
27 Plaintiff seeks general damages, economic damages and punitive or exemplary
28 damages. (See id., Prayer For Relief.)

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             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
 Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 16 of 17 Page ID #:16




 1        38.    It is widely recognized that personal injury claims facially meet the
 2 $75,000 jurisdictional threshold. See, e.g., In re Rezulin, 133 F. Supp. 2d at 296
 3 (finding that a complaint alleging various injuries from taking a prescription drug
 4 “obviously asserts a claim exceeding $75,000”). In addition, compensatory and
 5 punitive damages in excess of the jurisdictional amount of $75,000 have been
 6 awarded in product-liability cases in California. See, e.g., Stewart v. Union Carbide
 7 Corp., 190 Cal. App. 4th 23 (2010); Karlsson v. Ford Motor Co., 140 Cal. App. 4th
 8 1202 (2006); Jones v. John Crane, Inc., 132 Cal. App. 4th 990 (2005).
 9        39.    Other federal courts have similarly concluded that the amount in
10 controversy exceeded $75,000 in pharmaceutical cases. See, e.g., Smith v. Wyeth,
11 Inc., 488 F. Supp. 2d 625, 630-31 (W.D. Ky. 2007) (denying motion to remand);
12 Copley v. Wyeth, Inc., No. 09-722, 2009 WL 1089663 (E.D. Pa. Apr. 22, 2009)
13 (same).
14        40.    Given plaintiff’s claim that she has suffered “persistent pain and
15 decreased mobility,” which she claims have “both worsen[ed] over time,” it is
16 evident that the amount of recovery sought by plaintiff exceeds $75,000.
17 II.    REMOVING DEFENDANTS HAVE SATISFIED THE PROCEDURAL
18        REQUIREMENTS FOR REMOVAL.

19        41.    Johnson & Johnson was served with plaintiff’s Complaint on August 6,
20 2018. DePuy and Johnson & Johnson Services, Inc. were each served with
21 plaintiff’s complaint on August 23, 2018. Accordingly, this Notice of Removal is
22 timely filed pursuant to 28 U.S.C. § 1446(b).
23        42.    The Superior Court of Los Angeles County is located within the
24 Central District of California. See 28 U.S.C. § 1441(a).
25        43.    None of the removing defendants is a citizen of the State of California,
26 the State where this action was brought. See 28 U.S.C. § 1441(b).
27        44.    It is well settled that co-defendants who are fraudulently joined need
28 not join in the removal. See Borsuk v. Mass. Mut. Life Ins. Co., No C 03-630 VRW,

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             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
 Case 2:18-cv-07736 Document 1 Filed 09/05/18 Page 17 of 17 Page ID #:17




 1 2003 U.S. Dist. LEXIS 25259, at *7-8 (N.D. Cal. Sept. 4, 2003). As set forth above,
 2 Dr. Schmalzried is fraudulently joined. Therefore, he need not consent to removal.
 3        45.    No previous application has been made for the relief requested herein.
 4        46.    Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings and
 5 orders served upon removing defendants, which papers include the complaint, are
 6 attached collectively as Exhibit 2.
 7        47.    Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is
 8 being served upon counsel for plaintiff and a copy is being filed with the Clerk of
 9 the Superior Court of the County of Los Angeles.
10        WHEREFORE, removing defendants respectfully remove this action from the
11 Superior Court of the County of Los Angeles, in the State of California, bearing
12 Number BC714172, to this Court.
13                                       Respectfully submitted,
14 DATED: September 5, 2018              BARNES & THORNBURG LLP
15
16                                       By:
17                                             David C. Allen
                                               Kelley S. Olah
18                                             Gabrielle J. Anderson-Thompson
19                                             Attorneys for Defendants DEPUY
                                               ORTHOPAEDICS, INC. n/k/a MEDICAL
20                                             DEVICE BUSINESS SERVICES INC.;
21                                             JOHNSON & JOHNSON; JOHNSON &
                                               JOHNSON SERVICES, INC.
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            NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
